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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

KIMBERLY L. HODGE,                              )
                                                )
                        Plaintiff,              )
                                                )
vs.                                             )       Case No. 3:22-cv-295
                                                )
WALMART INC.,                                   )
                                                )
                        Defendant.              )

                                     NOTICE OF REMOVAL

         Defendant, Walmart, Inc., by and through its attorneys, Rynearson, Suess, Schnurbusch &

Champion LLC, remove this case to the United States District Court for the Southern District of

Illinois pursuant to 28 U.S.C. § 1446 upon the following grounds:

                                               VENUE

         1.     There is now commenced and pending in the Circuit Court for the Fourth Judicial

Circuit, Marion County, Illinois, a certain civil action designated as No. 2021-L-21, in which

Kimberly Hodge is plaintiff and Walmart, Inc. (“Walmart”) is defendant.

         2.     Defendant removes this case to the United States District Court for the Southern

District of Illinois pursuant to 28 U.S.C. § 1446(a) because the original action was filed in Marion

County, Illinois, which is within the Southern District of Illinois.

                                 DIVERSITY OF CITIZENSHIP

         3.     The district courts for the United States have original jurisdiction over this litigation

pursuant to 28 U.S.C. § 1332.

         4.     Complete diversity of citizenship exists between plaintiff and defendant as required

by 28 U.S.C. § 1332(a).




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        5.     Plaintiff is now and was at the commencement of this action a citizen of the State

of Illinois.

        6.     Defendant Walmart is now and was at the commencement of this action a

corporation organized and existing under the laws of the State of Delaware with its principal place

of business in Arkansas. Walmart is a citizen of the States of Delaware and Arkansas.

                                AMOUNT IN CONTROVERSY

        7.     The amount in controversy, exclusive of interest and costs, exceeds $75,000.00 as

required by 28 U.S.C. § 1332(a).

        8.     In her complaint, plaintiff did not allege any specific injury. Plaintiff claimed that,

as a result of the alleged incident, she sustained injuries to “her body, including her head, back,

and neck.” (Complaint, ¶ 15).

        9.     Plaintiff further alleged that as a direct and proximate cause of the incident “she has

suffered pain and will suffer pain in the future, and she was and will be forced to pay and become

liable for various sums of hospital and medical expenses for treatment of her injuries and may be

required to seek future medical care, thereby incurring future expense” (Complaint, ¶ 16).

        10.    Plaintiff finally alleged that she has suffered “a loss of enjoyment of a normal life

and was damaged thereby” (Complaint, ¶ 17).

        11.    Plaintiff’s complaint did not allege any specific amount of her damages other than

in her prayer for relief she alleged for jurisdictional purposes that she sought damages for a sum

“in excess of $50,000” (Complaint).

        12.    When the complaint itself does not explicitly establish the amount in controversy,

the district court may look outside the pleadings to other evidence of jurisdictional amount in the

record to determine if the amount in controversy requirement is met. Meridian Sec. Ins. Co. v.



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Sadowski, 441 F.3d 536, 543 (7th Cir. 2006); Andrews v. E.I. Du Pont De Nemours and Co., 447

F.3d 510, 515 (7th Cir. 2006) (holding that defendant may establish amount in controversy through

interrogatories, contentions, or admissions in state court, calculations of damages in the complaint,

reference to plaintiff’s settlement demands or informal estimates, or by introducing affidavits from

employees or experts about how much it may cost to satisfy plaintiff’s demands); Chase v. Shop

"N Save Warehouse Foods, Inc., 110 F.3d 424, 427-28 (7th Cir. 1997).

       13.     On February 7, 2022, counsel for plaintiff served discovery responses and

production on defendant’s counsel. Plaintiff’s discovery production indicated that plaintiff had

sustained injuries to her knee as a result of the incident alleged in the complaint and she had

required a variety of treatment including two surgeries—a knee arthroscopic surgery in July 2020

and a total knee replacement in June 2021.

       14.     Defendant had insufficient information to establish that the amount in controversy

was in excess of $75,000 before February 7, 2022, because defendant had limited knowledge of

plaintiff’s injuries and medical bills and treatment.

       15.     Based on the alleged past and future medical expenses, alleged pain and suffering,

alleged loss of enjoyment of a normal life, and two disclosed surgical procedures, defendant asserts

to the Court that a preponderance of the evidence known to date establishes that the amount in

controversy exceeds $75,000, exclusive of interest and costs.

                                          TIMELINESS

       16.     Plaintiff filed the Complaint on June 25, 2021, and served defendant with the

Complaint and Summons on June 29, 2021.




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       17.     This notice of removal was filed within thirty days after defendant learned the

amount in controversy exceeded $75,000 pursuant to 28 U.S.C. § 1446(b) and within one year

after commencement of the action pursuant to 28 U.S.C. § 1446(c).

                                  NOTICE REQUIREMENTS

       18.     Written notice of the filing of this removal was given to plaintiff pursuant to 28

U.S.C. § 1446(d).

       19.     A copy of this notice of removal was filed with the Fourth Judicial Circuit, Marion

County, Illinois, as required by 28 U.S.C. §1446(d).

       20.     A copy of all process and pleadings were filed contemporaneously with this notice

of removal in accordance with 28 U.S.C. §1446(a).

       WHEREFORE, defendant, Walmart, Inc., removes this case to the United States District

Court for the Southern District of Illinois and hereby requests that the filing of this notice of

removal shall effect the removal of said civil action to this Court.

DEFENDANT DEMANDS TRIAL BY JURY.




                                       RYNEARSON, SUESS, SCHNURBUSCH & CHAMPION LLC


                                       By /s/James E. DeFranco
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